Case 2:07-cr-20076-RHC-RSW ECF No. 547, PageID.2139 Filed 12/21/16 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                                Case No. 07-20076–8

        v.

 JERRY GUNTER

               Defendant.

 ___________________________/


        ORDER GRANTING BOND AND SETTING CONDITIONS OF RELEASE

        A telephonic conference was held on December 20, 2016 with the Court,

 Counsel for the Government and the Defendant, the Probation Officer and a US

 Marshal as to the health and custody status of defendant Jerry Gunter. It was

 determined that the defendant will be granted bond awaiting the continued supervised

 release violation hearing set for January 9, 2017. Therefore,

        IT IS ORDERED that Defendant’s bond shall be set at $10,000 unsecured, with

 additional conditions of release. The Probation Officer shall attach a GPS tether to the

 Defendant. He shall remain at his residence at all times, with the exception of medical

 appointments or legal obligations at the discretion of the Probation Officer. There will

 be “Zero Tolerance” for any drug or alcohol use and any new criminal activity.
Case 2:07-cr-20076-RHC-RSW ECF No. 547, PageID.2140 Filed 12/21/16 Page 2 of 2




       The defendant is directed to appear for the Supervised Release Violation Hearing

 on Monday, January 9, 2017 at 10:00 at the US District Court in Detroit, Michigan,

 Courtroom 252.



                                          S/Robert H. Cleland
                                         ROBERT H. CLELAND
                                         UNITED STATES DISTRICT JUDGE


 Dated: December 21, 2016


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, December 21, 2016, by electronic and/or ordinary
 mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (810-) 984-2056




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